993 F.2d 1539
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Curtis Leon TAYLOR, Sr., Petitioner-Appellant,v.P. L. HUFFMAN;  State of Georgia, Respondents-Appellees.
    No. 93-6246.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  May 27, 1993
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-92-800-R)
      Curtis Leon Taylor, Sr., Appellant Pro Se.
      Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      W.D.Va.
      DISMISSED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Curtis Leon Taylor, Sr., appeals the district court's order that denied his motion for recusal in his 28 U.S.C. § 2254 action.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.  R. Civ. P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We deny a certificate of probable cause to appeal and dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    